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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                   8/27/21
  United States of America,

                  –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On May 11, 2021, the Court informed the parties that it set a tentative trial date for

November 29, 2021. The Court accordingly requested a jury trial for that date pursuant to the

COVID rules for centralized jury trial scheduling in the district. The Clerk’s Office has now

confirmed that a jury trial in this case has been scheduled to commence on November 29, 2021.

This is a firm trial date. When the information is available, the Court will provide courtroom

location and public access information by separate order.

       Due to space limitations resulting from the SDNY COVID protocols, the Clerk’s Office

has also provided the following dates for administering a juror questionnaire and conducting voir

dire: November 4, 5, and 12 (questionnaire), and November 16–19 (voir dire). The Court

intends to use a streamlined questionnaire as much as feasible given all relevant circumstances.

The parties shall bear this in mind when they discuss and jointly propose a questionnaire and voir

dire on the schedule outlined below.

       In light of the firm dates discussed above, it is hereby ORDERED that the parties appear

for a telephone conference to discuss jury selection matters on October 21, 2021 at 12:00 P.M.

Dial-in information for the parties and for public access will be provided when it is available by

separate order.

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       In light of the jury selection dates provided by the Clerk’s Office, the Court amends the

schedule that it set on June 2, 2021 as follows. The parties shall meet and confer and submit a

joint proposed juror questionnaire and joint proposed voir dire by October 11, 2021. The parties

shall file a joint proposed charge and verdict sheet, with any differing proposals supported by

authority or other justification, by October 27, 2021. Any motions in limine must be

simultaneously filed by October 18, 2021, and any responses to motions in limine are due by

October 25, 2021. Otherwise, the parties shall continue to follow the schedule that the Court set

on June 2, 2021. Dkt. No. 297.

       IT IS FURTHER ORDERED that the parties appear for an in-person pretrial conference

on November 1, 2021 at 11:00 A.M. Location information and public access information will

be provided by separate order when available.

       SO ORDERED.



 Dated: August 27, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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